       Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 1 of 8



 1    DICELLO LEVITT LLC                             GRYGIEL LAW LLC
      David A. Straite (admitted pro hac vice)       Stephen G. Grygiel (admitted pro hac vice)
 2    485 Lexington Avenue, 10th Floor               127 Coventry Place
                                                     Clinton, NY 13323
 3    New York, New York 10017                       Tel.: (407) 505-9463
      Tel.: (646) 933-1000                           stephengrygiel22@gmail.com
 4    dstraite@dicellolevitt.com
                                                     SIMMONS HANLY CONROY LLC
 5    Amy E. Keller (admitted pro hac vice)          Jason ‘Jay’ Barnes (admitted pro hac vice)
      Adam Prom (admitted pro hac vice)              112 Madison Avenue, 7th Floor
 6    Ten North Dearborn Street, 6th Fl.             New York, NY 10016
 7    Chicago, Illinois 60602                        Tel.: (212) 784-6400
      Tel.: (312) 214-7900                           Fax: (212) 213-5949
 8    akeller@dicellolevitt.com                      jaybarnes@simmonsfirm.com
      aprom@dicellolevitt.com
 9
      Class Counsel
10

11                               UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                        SAN JOSE DIVISION
14                                                Case No. 5:12-MD-2314-EJD
15                                               PLAINTIFFS’ REPLY IN SUPPORT OF
                                                 MOTION FOR ATTORNEYS’ FEES,
16   IN RE FACEBOOK INTERNET                     EXPENSES, AND SERVICE AWARDS
     TRACKING LITIGATION
17
                                                 Judge: Hon. Edward J. Davila
18                                               Courtroom: 4—5th Floor
19                                               Date: October 27, 2022
                                                 Time: 9:00 a.m.
20
     THIS DOCUMENT RELATES TO
21   ALL ACTIONS

22

23

24

25

26
27

28
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY
     FEES, EXPENSES, AND SERVICE AWARDS
          Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 2 of 8



 1   I.       INTRODUCTION
 2            Settlement Class Representatives Perrin Davis, Dr. Brian Lentz, Cynthia Quinn, and
 3   Michael Vickery (the “MDL Lead Plaintiffs”), through Co-Lead Counsel David Straite and Stephen
 4   Grygiel, and Chair of the Executive Committee Jay Barnes (together, “Class Counsel”),
 5   respectfully submit this reply brief in further support of their Motion for Attorneys’ Fees, Expenses,
 6   and Service Awards (the “Motion,” ECF 256). The Motion describes in detail the extensive
 7   background of this lengthy and complicated litigation and the outstanding relief provided in this
 8   Settlement. Although no opposition briefs to Plaintiffs’ motion were filed, Plaintiffs respectfully
 9   submit this reply memorandum to provide several updates to the Court, particularly to demonstrate
10   the settlement’s full compliance with the settlement approval principles reiterated in a very recent
11   Ninth Circuit opinion. These updates further support granting Plaintiffs’ Motion for Attorneys’
12   Fees, Expenses, and Service Awards (ECF 256). In separate briefs filed concurrently herewith,
13   Plaintiffs also submit reply arguments in support of granting final approval of the Settlement and
14   Plaintiffs’ responses to the unmeritorious handful of objections to the settlement.
15            In sum, under Ninth Circuit and other relevant authority, the requested fee award is fair and
16   reasonable given the important injunctive relief obtained; the tremendous financial result; the pro-
17   privacy changes in the law the litigation achieved in a developing and broadly important area of
18   the law; and the many risks Settlement Class Counsel took in pursuing and reaching the outstanding
19   resolution of this decade-long litigation. What appears to be a seminal case establishing the now
20   long-standing “25% benchmark” noted “[t]hat percentage amount can then be adjusted upward or
21   downward to account for any usual circumstances.” Paul, Johnson, Alston & Hunt v. Graulty,
22   886 F.2d 268, 272 (9th Cir. 1989). Recent cases continue to reaffirm the established principle that
23   an upward adjustment from the 25% benchmark can be appropriate where counsel obtain superb
24   results through protracted and risky litigation. See, e.g., Devier Avery v, Akima Support Operations,
25   LLC, No. 2:19-cv-00924-DAD-AC, 2022 WL 4473211, at *11 (E.D. Cal. Sept. 26 2022) (“Reasons
26   to vary the benchmark award may be found when counsel achieves exceptional results for the class,
27   undertakes ‘extremely risky’ litigation, generates benefits for the class beyond simply the
28
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY
     FEES, EXPENSES, AND SERVICE AWARDS                 1
       Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 3 of 8



 1   settlement cash fund or handles the case on a contingency basis.” (citing Vizcaino v. Microsoft
 2   Corp., 290 F.3d 1043, 1048-50 (9th Cir, 2002) and In re Online DVD-Rental Antitrust Litig.,
 3   779 F.3d 934, 954-55 (9th Cir. 2015)); Cavazos v. Salas Concrete, Inc., No. 1:19-cv-00062-DAD-
 4   EPG, 2022 WL 2918361, at *12 (E.D. Cal. July 25, 2022) (same); Kendall v. Odonate
 5   Therapeutics, Inc., No.: 3-20-cv-01828-H-LL, 2022 WL 1997530, at *6 (S.D. Cal. June 6, 2022)
 6   (“To determine whether an upward departure from the 25% benchmark is reasonable, the Court
 7   considers the Vizcaino factors.").
 8          Plaintiffs’ request a modest upward adjustment of the 25% benchmark to 29% of the $90
 9   million Settlement Fund. The reasoning of analogous cases applied to this case fully supports this
10   request. A lodestar cross-check further supports the reasonableness of the requested fee, which
11   represents an implied multiplier of approximately 2.7 on MDL Counsel’s lodestar.
12   II.    ARGUMENT
13
            A.      Only Four Class Members Out of 2.1 Million Claimants Object to the Motion
14          No opposition briefs to Plaintiffs’ Motion for Attorneys’ Fees, Expenses, and Service
15   Awards (ECF 256) were filed (even though defendant had the right to oppose). Four class members
16   filed objections to the Motion, while 2.1 million class members submitted claims without objection.
17   All four objections were limited to the request for fees and/or incentive awards; none opposed the
18   request for reimbursement of expenses.
19          Plaintiffs incorporate by reference their concurrently filed Omnibus Response to the
20   Objections. That Omnibus Response provides detailed analysis and argument showing why the
21   objections merit ready rejection.
22
            B.      Additional Analysis of Time Records Supports Using the Percentage of Fund
23                  Method and Finding Reasonable Plaintiffs’ Attorneys’ Fees
24          The nature of this common fund case warrants application of percentage of the fund

25   approach. Where the “benefit to the class is easily quantified in common-fund settlements,” district

26   courts may “award attorneys a percentage of the common fund in lieu of the often more time-

27   consuming task of calculating the lodestar.” Thomas v. MagnaChip Semiconductor Corp., No. 14-

28   CV-01160-JST, 2018 WL 2234598, at *3 (N.D. Cal. May 15, 2018) (citing In re Bluetooth Headset
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                          2
     FEES, EXPENSES, AND SERVICE AWARDS
       Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 4 of 8



 1   Prods. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011)). Here, the $90 million Settlement Fund is
 2   non-reversionary, and the amount is fixed and easily quantifiable, which weighs in favor of using
 3   the percentage of the fund method. Id.
 4          For all of the reasons detailed in the Motion, the requested fee award here is reasonable and
 5   fair. The exceptional overall result and the benefit to the Settlement Class warrant upward
 6   adjustment of the 25% benchmark to 29%. The requested 29% fee award is well within the range
 7   awarded in other privacy and consumer class actions. See, e.g., In re Lenovo Adware Litig., No. 15-
 8   md-02624-HSG, 2019 WL 1791420, at *8 (N.D. Cal. Apr. 24, 2019) (awarding 30% in a privacy
 9   class action); Grace v. Apple, Inc., No. 17-CV-00551-LHK, 2021 WL 1222193, at *2 (N.D. Cal.
10   Mar. 31, 2021) (awarding 28% of the settlement fund in technical case and novel claim involving
11   FaceTime calls); In re TikTok, Inc., Consumer Privacy Litig., No. 20 C 4699, 2022 WL 2982782,
12   at *27 (awarding 33% of $92 million common fund and noting that such an amount is typical in
13   other data privacy settlements and routine for class action settlements in similarly complex fields).
14          A lodestar cross-check confirms the reasonableness of the requested attorneys’ fees. As
15   reflected in the Motion and the supporting declarations, Class Counsel did a great deal of work in
16   this lengthy case over eleven years. Even after settlement was reached, Counsel were required to
17   prepare the detailed and voluminous final settlement approval papers, to communicate with Class
18   Members who had questions, to draft supplemental submissions, prepare for the settlement
19   approval hearings and, if the Court approves the settlement, to implement the settlement. Lead
20   Counsel reviewed the time and expense records of each participating firm prior to filing this
21   Motion, and one paralegal assigned ABA Litigation Task Codes to each and every time entry to
22   ensure uniformity. Joint Decl. ¶ 31 (ECF 255). That review process corrected errors in task code
23   designation and removed some attorney time that, in the judgment of Lead Counsel, was not
24   appropriate for reimbursement. Id. In total, following this audit process, MDL Counsel and
25   Supreme Court Counsel initially reported spending 11,413.50 collective hours on this matter
26   through August 22, 2022. Id. Ex. 2.
27          Class Counsel submitted three charts with this Motion to assist the Court with its evaluation
28
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                           3
     FEES, EXPENSES, AND SERVICE AWARDS
         Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 5 of 8



 1   of the reported lodestar, including: (1) lodestar and expenses by firm; (2) lodestar by ABA
 2   Litigation Task Code; and (3) lodestar by year (pre-consolidation and post-consolidation). Joint
 3   Decl. Exs. 27–29 (ECF 255-27, 255-28, 255-29). Class Counsel further submitted declarations from
 4   each and every firm submitting time attesting to the accuracy of the records; Co-Lead Counsel also
 5   attested to the work assigning process. No work was permitted to be performed without approval
 6   from Co-Lead Counsel, which reduced the risk of duplication of efforts.
 7           Reporting lodestar on a summary basis by task code category is expressly permitted in the
 8   Northern District if supported by supporting declarations, as was done here, per the Procedural
 9   Guidance for Class Action Settlements. Class Counsel further assisted the Court by reporting
10   lodestar by firm, and also by year in the event the Court wanted to see pre-consolidation time versus
11   post-consolidation time. Today, to assist further, Class Counsel submit herewith a fourth chart,
12   detailing lodestar by timekeeper for all firms. See October 13, 2022 Joint Declaration of David A.
13   Straite and Stephen G. Grygiel (“Oct. Joint Decl.”), Ex. 2. While compiling this chart, Class
14   Counsel corrected an inadvertent transcription error of 100.0 hours for one PEC firm (Murphy
15   Falcon & Murphy) and a few smaller clerical errors as detailed in the Oct. Joint Decl. These
16   corrections do not impact the implied multiplier in any material way.
17           Additionally, although Plaintiffs mentioned this in the Motion, it bears repeating that State
18   Court Counsel’s time is excluded from the collective lodestar calculation in order to avoid even the
19   appearance of duplication of efforts.1 Excluding State Court Counsel lodestar also avoids the issues
20   identified by the Ninth Circuit in In re Apple Inc. Device Performance Litig., No. 21-15758, 2022
21   WL 4492078, at *11 (9th Cir. Sept. 28, 2022).
22           Overall, the requested award of fees of $26,100,000 represents a multiplier of
23   approximately 2.7. If the Court were to consider only the total collective lodestar after consolidation
24   ($7,950,514.50), the multiplier would be 3.28. Either way, the implied multiplier here is reasonable.
25   “Multipliers of 1 to 4 are commonly found to be appropriate in common fund cases.” Sheikh v.
26
     1
27    If the Court grants this Motion, Lead Counsel will pay State Court Counsel from the fee award
     here in the MDL, and State Court Counsel will not seek additional fees in the State Court Action.
28   See Settlement Agreement § 10.
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                           4
     FEES, EXPENSES, AND SERVICE AWARDS
         Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 6 of 8



 1   Tesla, Inc., No. 17-cv-02193-BLF, 2018 WL 5794532, at *8 (N.D. Cal. Nov. 2, 2018) (citation
 2   omitted); see also In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Antitrust Litig., 768
 3   F. App’x 651, 653 (9th Cir. 2019) (approving 3.66 multiplier in $200 million settlement); Steiner
 4   v. Am. Broad. Co., 248 F. App’x 780, 783 (9th Cir. 2007) (even a multiplier of 6.85 was “well
 5   within the range of multipliers that courts have allowed”); In re TikTok, Inc., Consumer Privacy
 6   Litig., No. 20 C 4699, 2022 WL 2982782, at *29 (awarding a lodestar multiplier of 2.04, equal to
 7   33% of the common fund, but noting that 2.04 “is well below average for a fund of [$92 million]”
 8   citing 5 W. Rubenstein, NEWBERG ON CLASS ACTIONS § 15:89 tbl.2 (6th ed.) (for fund sizes
 9   over $44 million, the mean multiplier was 2.39)).
10           C.     Request For Plaintiff Service Awards
11           Settlement Class Counsel request Service Awards of $5,000 each for the four Settlement
12   Class Representatives in the MDL, and $3,000 each for three State Court plaintiffs, for a total of
13   $29,000. The request is presumptively reasonable in this District. See Noll v. eBay, Inc., 309 F.R.D.
14   593, 611 (N.D. Cal. Sept. 15, 2015) (Davila, J.). As discussed in the Motion and the supporting
15   Settlement Class Representatives’ declarations (Joint Decl. Exs. 16 through 22), they actively
16   monitored the status of the litigation for more than ten years, communicated regularly with
17   Settlement Class Counsel, searched for and producing responsive documents, and reviewed
18   significant pleadings prior to their filing, including the three consolidated complaints.2 Because
19   Settlement Class Representatives’ Service Awards request is “in line with precedent,” Allagas v.
20   BP Solar Int’l, Inc., No. 3:14-cv-00560-SI (EDL), 2016 WL 9114162, at *4 (N.D. Cal. Dec. 22,
21   2016) (citations omitted), the Court should therefore grant Service Awards. Very recently the Ninth
22   Circuit upheld the propriety of reasonable service awards. In re Apple Inc. Device Performance
23   Litig., 2022 WL 4492078, at *11–13.
24   III.    CONCLUSION
25           Class Counsel devoted thousands of hours to this 10+-year litigation, including substantial
26   time even before they were appointed in a leadership capacity. Based on the outstanding Settlement
27   2
       State Court Plaintiffs Ung, Chen and Rosen also submit supplemental declarations with today’s
28   reply to give additional support for their requests; they are attached to the Oct. Joint Decl.
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                           5
     FEES, EXPENSES, AND SERVICE AWARDS
       Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 7 of 8



 1   result, and consistent with the factors applied by federal courts, including in the Northern District
 2   of California, Settlement Class Counsel respectfully request that the Court issue an Order awarding
 3   $26,100,000 in attorneys’ fees payable upon the funding of the settlement, approving
 4   reimbursement of $396,100.68 in litigation expenses, and approving Services Awards of $5,000 to
 5   each of the Settlement Class Representatives in the MDL and $3,000 to each in the State Court
 6   Action.
 7
     Dated: October 13, 2022                         Respectfully submitted,
 8
      DICELLO LEVITT LLC                                   GRYGIEL LAW LLC
 9
              /s/ David Straite                                    /s/ Stephen Grygiel
10    David A. Straite (admitted pro hac vice)             Stephen G. Grygiel (admitted pro hac vice)
11    485 Lexington Avenue, 10th Floor                     127 Coventry Place
      New York, New York 10017                             Clinton, NY 13323
12    Tel.: (646) 933-1000                                 Tel.: (407) 505-9463
      dstraite@dicellolevitt.com                           stephengrygiel22@gmail.com
13
      Amy E. Keller (admitted pro hac vice)                SIMMONS HANLY CONROY LLC
14    Adam Prom (admitted pro hac vice)
15    Ten North Dearborn Street, 6th Floor                         /s/ Jay Barnes
      Chicago, Illinois 60602                              Jason ‘Jay’ Barnes (admitted pro hac vice)
16    Tel.: (312) 214-7900                                 112 Madison Avenue, 7th Floor
      akeller@dicellolevitt.com                            New York, NY 10016
17    aprom@dicellolevitt.com                              Tel.: (212) 784-6400
                                                           jaybarnes@simmonsfirm.com
18

19                                               Class Counsel

20
21

22

23

24

25

26
27

28
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                           6
     FEES, EXPENSES, AND SERVICE AWARDS
       Case 5:12-md-02314-EJD Document 272 Filed 10/13/22 Page 8 of 8



 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, David A. Straite, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4          Executed this 13th day of October, 2022, at Marbletown, New York.
 5
                                                     /s/ David Straite
 6
                                                           David A. Straite
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     CASE NO. 5:12-MD-2314-EJD
     REPLY ISO MOT. FOR ATTY                           7
     FEES, EXPENSES, AND SERVICE AWARDS
